Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 1 of 27 (o..:
                UNITED          SrnrEs t:r   D      e\c--T PageID    BT#:1
                NORT HER.N       NtSTRrcf oF- =-LL(NotS



                                                               Au606m--v{--
                                                   +-#HP$sffi
      oF ttrq Ptoi{,rtiFF- or Ptqir.rtiFF9 in
        t:S e+rort)
    -''
                                             1:2O<l't446,2G
          \J                                 presiding Judge Manrin E.
                                                                        Aspen
    -OFFicer Fcfi<v€riia.--_-_---            Magistrate Judge Jeftrey l. Cummings
                                             PC2




    \f,6 nno,f,Sh&I.l NncuJiCJ<-.


                                                               -st**tir-




                   _-----pfraf-*L c rt<. s-tgt)q-r-L-ts--Jmsn)---
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 2 of 27 PageID #:2
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 3 of 27 PageID #:3
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 4 of 27 PageID #:4


           ,St*f.-€rd- oF Ucri o,r

      on &nq t-7, ?Qao agprx.ivrcrt<-k1 c*                       lO:@Atr4.
      L r^)crt leqv;rr3 lt$l N <o.tifoniq (/3ifh /tmo oF Ub
      C\rrr(ncy kqn an :"rt{<cp {ar^rS.,rf +o o-Pqn a &^K-
      Acrsr-rrf.
 .. a ho., / 5,<f, mon crrfemgter] -t<) Vors..:(- $ y         rrr^rql$C5
    *3 .tf'Uq.l( r 'tlri,a (wlr\ d',c\ {TJr StcK- (-fed<frf,o.\: er
 .. Ctcr.n r c\r\q pO\\ge =.c.\er#,HKrtrm. OnC(; L    Xcr\ \
                  )
    fiStg\ qinner\ eS r\(-r r_ b<cr$ele_ e r i          es:\ Gcr
                                                             $ir<n
      Plq ilF<- o.nd r.L{         [-i no.nc<-a.
       00
 .,
      =-                   &l,sn c-crtiFornio. cven\>t-
            r-..)G\ e)nCrS<C\
      +s\nefi do-.on N\tqsld. cnd \Jcrrs Pinned clo.gl
                        O
      \J   c\n " oSFitqC S*3=rrt Hcs..oKrn:i rohel'e e-Jel\tu{ ly
 .. Ms\.              c-qo^{- qnd <\3 Pi ted on TcP oe
 ,, (v\q 1 oncl crrrqtfitA o1<. " o..J a uJcls rsr onrir crndoriztd


                  r T- c"ece-rved onu\'{r\P\q P*nCh<S, K; cKS
 .. r-,JYrr\t do.,cn
 .. ott cNrqr       looc\ \ahi\{- on {r\n<-
                                                                             ]




               \                                  Srcpnd., T-
 ,, \.rtto q*rF{-<A             <rnK\<-S c.nd l^.rndS o*nc}
                                                                             ]




                     \    \
 ,. Pi<-sss\ up \c1 i.r",{"t oP{ic<fS onc-\ ttcrmm,ed
                                                                             ]




 , bcrs-K- cln +Xq             .efifo. L tr<lf F^\ \^e.qd                    I




                        "csfe$                                               I



  . lfnrdobincl cxF+<f b<--,nc1 :i..^ut+,r-t<-c.I *^C   cl*rc,^q
 , tln#, = J <Fty l.t*J ancf Sq<n oFF iq<f
                     \,on^,
                                                               )             I




 :, E.h<rv<riic1 -t<*y-< *) $ r>,:o oF ,.rt ci.rrr<nCy
                                                                             I




 ;. crncl c$ts cfth<r PrcP<(Ty',

 :


                                                                             I
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 5 of 27 PageID #:5




                     -l.slf* SqcrnS -c^nc\-
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 6 of 27 PageID #:6
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 7 of 27 PageID #:7




                                                         ra-Pecro^cY




          Ltf: @ ots^r-:tt t.,I( ---*- CF$icer-5


     oF--crsW
        ir n'e3Bt*nc +.
    Uodn^pErn c c..c) mr Vcql$n oc\s\* efia{--d6
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 8 of 27 PageID #:8
       Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 9 of 27 PageID #:9



G .,:r- G.cn ct\ue:-ri^h 11. Fof errcrXdol *l"cf, =-
  , dorrr fsc<-iv< ttn-t t"tS, ?@ cF \rt curreirJcy dhic!"r \,ar\S
       to.K.en t{crv, mq 1 B cFFic<r Echw<rirq..
       5- Cx\tO \r0crs o ,.rn\o.r \^)octoe;. Fo{- ><i U                     o.rrd   CI

       Pg:ono.\ Attitln,Ot nncr.rcinr3 tl5 o.r\ Vrr crrrcl                  f<u-iv,"J
       \ 60 ?rutS hrt ilo,t'ftl^Y.



       .r.p\ c(q\rtrt,n3 & I@r@o. Foc *0 brovlrn -.'rccrfi-t i n \nhich
       *\ Fi t tinl u!\S K{\c(ffD   otJf eF *) {Yctrtt^
                          frAcfficD orrf                 d,ur in3
                                               {tlcrit\A d.,-rr i n3 -irln'e

     asiourf, d.nd ?oln crnd arf6erincr \.,)^itt, \n (rrc\L
                                        J
  ,. Ca'-t thgt Poiicy or\r'tif:s -thdf "no focrli arncr.\ o{ Fittin3


       ',Ah*ru, E- \l<\J< fio opncnr5 brt                tO    rrxltt .

       .T
                WCn.td      $ti(- -lilnt cqJff it Proltn 5rrqc<5Sfutty -l-h(t-
       T               b( 3ronfecf 7 mi t t ion dol tcrfS $of a 6er iqe-r:
                \r.b,r.tA
        C vi\ Rl..ffi v\c\sficn <roc\ gar excesairrt SoCc< ? b<-\i\otftrg.t
                 J
       lI^Oif0-nencre . crnc& 3 s,.i \\ion Gof ?unifiV< do,sztcrg'eS ,
         qctcJ
               1a- atK- tinn< rrO Drt-t<n(\ .
        T\< Pt,rirrr,$ f       Ae$.^cr'c\s -rcicr\   tr yE5            If    No
                                                 Ctr.t rFg(-.Rxrot.)
                   By s$h^i5 'ti{15 corrptcr..rrt , -          c*.ri         fi^atr -t1^<
                                                                       t
          trtc,-tecl .lq
       t-qc*:                              oft' tn^< 'to +\nt" locsf
                                  '.lA^\S (ornp\rilrrf
   oC-   *3 rr^cQt<c}5e. 1 \n$'ofr.tWicn crnA rcet<,F r =. .rrx-\e.f a-ttL.d.
   thqf ]F this csr-riHcrrrigr 'r 6 ncrtr corr{<f 1 t- v\rcr-1 lae
   5.r.\<d -to =onefriona
                        +hi6 ASrd
                                       5 do..1    ct- J,^,y aOaO

       ?cicrt nqfl\q.                  R1*un 5pf,.t NX?S :ro * a$aoo6 \t 06?
    ('e$"1)
e: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 10 of 27 PageID #
                                                   ffirilt ffiilMrY
           vJr;t€l1                     ry*P$,HTl,cl gFlT #F   ffi fi flffiImH$
                                             llE&{ATt ,H f;fl ,t ! ESif S0*h,f;

   ItlTrit*flu{                              [,Lar* Llhr,ery                            _-EE@UA-EER1,IUEE
  Q(ftrper',iniemdent                        E Frtrnlie lrnfsnrualir*n                  Iofiugim
   I Darnmiurury                             I Fr.llrticLihrary                         E t:al}ruuc
   fI Eruxt Fffnd Eslancr                    E [i"S N'Iail i]rfeffffsli8n               f] ffun-Denurnrixatiun Ckrrlsfi an
   E m*aldarfg. {1fl-2* yrr}                 tr   nnmate li$ark Frogrann                [] Eaptirt
  !lS-L{-tl!ry
     il-tel*BEe *f Exffi$i
                               n,nd eT er}
                                                                                        [,Ieurish
   L_l                              frEll
  P,ruioer[lr                                                                           f, Jehauah'a il-$itrrie,sa
   f,Olher,,
  riatlATf{{I|ME:                                                 &A:-tE5UEIArr,fiErE


     hvr.xi 5ra, L)c^\
  tz{taArElfrtifi)fitaf,i':t
                                                                    z- t+l-ecat>
     EQd.o,cc. \fic€s                                               8* r.t - ao'.\cJ
                                                                  HUI{,lGUlIcr

      I uornr I c- \^....-,\e
                               K                         **"-
      5- i^rrcte 6 'fcr t t
                                                                                  I


                                                            .rri*Juwlo=                        n.rr\         \^r..;.o
                                                             J
   $r"r\r-\ cierl- (o.\\ Oc\a:ta                                     rt.Cr l"r,rer\lrrr\                      Lrrt
        JU
    h..s ,,ffc.€rt er\thi ncr clnt rji*Vr v
    "tt.'s+h, c.nc\ tve d,rct .{i-hlert'h .rx\ tl.l.e                            ft
     dortr:{ Ptr" \ua:t5 f.,etlJnlq y\4x




                                                                              ro*iEu*terltr€ B€{Eueo aasEoilffi enurlE
e: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 11 of 27 PageID #


                                           sfr rAHThrt EfiiT'fi fi H {ffi ffi fi E#tsFrEs
                                                   ft€t*#iffiA** ftg S*SK
                                      F,0&h,tUt"4ftlCIBH$SlfifllTn"lift DjE Fffi&S#,a

       n E'oheEsianpsde                            I lmFnrmachrseful                             SiELIffCII$E SERI'IEEB
       n S+rperirdendelrte                         n fiihfiob.naLsgsl                     D tdusilirrmncsl
       f] Ealanre erra*Cuerde                      n $HiElE{sPu&lica                      fl fia*rlicsg
       LJ Juninde Ed*carbn 1&?{                    Ll lnhnseoiom Eelactena# oon
       :rg* i{p edert                                 .s*lkrrsa                           f ] lie fierleminacis* Crieiiena
       ! Frr*aa Prngrarna dB Trcbxio               n  Caroiseda                   I Sauiistuo
       Ll Aulurizaeios. de exrer*o *e              p f aaletta i*.eUJ nray*rde 21 fl Juaiss
       nrmiedsd,an 1* ceida
       noms                                                                               I Tedigrsd*.ielwva
       FBSSG$I0UlAnEr                                               FE6l{ik Eft},qUE zuF srrllfi E-ilSA,'



       psEtq, tai]lJt€f,o sE lqE{,f*tn*f; fl 6ti
                                                                    fEEI*'* BECESTE



       DEtlSlglilr



       HAUIAEELFEES&J




                                                   r
       fEBsA*lslLB.E t A,flfi'rfll
                                                                                   FFESS' F'ECHS,OEIEEEEFIIUSIiiEE   NE'SUFErA
                                                                                   IsEx[1tEIE{




                                                                                                            {i
      (pr;r<d ) Document #: 1 Filed: 08/06/20 Page 12 of 27 PageID
e: 1:20-cv-04626
      \ qoFY /                                ffi(tHCSIJfiiPf
          il r;ff</-l          ft EFre,Hf M EltlT #F 0ff fi frffi-fil&Ft$
                                    lllf&lATf Rfift{J ffiffi' Sfifl.d

  f, tllrite-oui                     I La*rtlbrartr                                  REL*gIfiUE EEfi]'ISES
  }($,umrinienrd*nt                  I       F*rolte lnlosnalien                 I Mustirn
  I CnmmriseaqT                      I euHic]-ihrary                             [] r:rth*tc
  I Trur.tFffndBs{anrr               E Lr.S. filail,i*fornmti,sl,ir              f] l,lon-Dennnrination Ckn*slian
  f nsarUof f*. {'l&-2'tr   yxg}     I trma{* lrr$*rkFragrar*              I     [] Bapiiul
  E 6.f"f. {tt urs *nd orreg                                                     ll.3ev'.*th
  Lj Helefl sB sf Exrasa {;ell
  Pryrnertu                                                                      E Jehnrrahk UUitners
  I    otner

  I!{'$IATEIHAIYIE;                                        BA:IESUEITA]ITFEE}!


           Rvnrt S?oi Ac\a,                                    G-a\- ec
                                               J           T,AUETGA}EI

      acDCcrotScc€                                             C* *-r_"f,C
                                                           UWI'J#liMI[r

          5-A-f-r - rq
  '***t*tt"'*'*u
                      lL'          ,-'--'-:'-                         "1'
      :L le           ,-rJc<rt-< c\r it \-t(cr.\( p\                      4.... t          ,Nl* c\itr. \
                                         J
   Stetp: cvrc\ <s:+ c\q\vi t = I c\r.A S+i r                                                        t


   l<tt-intl VrqoC&t\^<\ (\n(\            ',                               I



    rl                         ^,\ \ trui    \ .iovrx\', rv
                                                                           lc\ -r* {--t< \ /
   Uu.tnqr-cr\ott \o\.nci &ro.ylC c$\ th*Sq PeOp\e
                                                                           I

                                                                           i




                                                                           i



                                                                       EsrsUrfi crAirE rf{itvEE EEsFmmEut{;




                                                                           I
e: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 13 of 27 PageID

                                              i
                                     rgF fit FTh{ESIT* DE ffiftftS(}lfl,FtE$
                                          t   F ffirlaAft# DH f;*OK
                                   Fs&tXl ",t lAHtCI 0EsslJctTu# DE FHES$

       n $okre Eaiarnpadc                         I hfqffnadar,rDeFa.r6l                                 HELIEI$I'$SEBUICEI!
       n &upsin{erdeHts                           I EklidaraLsgal                            n     lt,ksi.dranloes
       f] Ealanre enauCue*ie               [! *mi*ecafu[$ca                                  n Cairollcsg
       Ll,.funla de Ed*cacbn tS.2{                j l$hniracbn fulscisnada oou
       arrre {.!n edxrl                            .t*r {Xmmrr                               f I e il+nrminaeinn ft iaEane
                                                                                                   Fil



       I   Flreoo Programa & Tehaio           [] Cami*aria                                   I Bauiiabs
        LJ AuloflE6fiif8 rleeweeo dr,
       ilr*rdedsd,ffi ra ceids             p feratelU {e-e.DJ nraprda 21                     n Jrifrsa
       E eurer                                                                               I Tedrgosd*Jehfl.]*
       PBEE{}lll{'ltrEfrEl                                          FE6t{* Et}&HEFt E.ffiattEfl&A !.



                             tlE                                    F EH*B€C€F.IE


                                                                    lllElff ,.{S trE r/rttlE$Ar



       flE&rtAEEt FftE50!




       PE[50tllfit-!}8 U46mrdsr                                                     iFfl E5& FEEHfi IIT iHEf,f F[IES}6E M€FUE6E*.
                                                                                    Itsml.4tcl8r
                   Vd'^;rf.tA
                  riffiriI    oPY)
              Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 14 of 27 PageID #:14


                     NON.EMERGENCY
                     HEATTH PHONE CAII. REQUEST
                     CERMA'( HEATTH SERVICES OF COOI( COUNTY



                          t/
     roDArs oerr. L,/ tg       /lo   TASTNAME:   sPR IN6S                   FIRSTNAME: RYA'N)



    CCDOC#:                                 DrvtstoNfirER:   SLALLl id         DArEoFBrRrH:




                                                                              ONLYURGEUT& EMERGENT
                                                                              NEEDS AS DIAGNOSEO BY THE
                                                                              DEIITET wlu.8E TREATED ATTHIS
                                                                              TIME.

                                                                              BASIC CI."EANINGS AND ROUTINE
                                                                              FILLINGS ARE NOT PROVIDED
                                                                             DURING I}IE COVID.19 PANDEMIC.



                                                                             E My tooth is loose
                                                                             Xuyf.." is swollen
                                                                            E lcan't open my mouth
  I WOUI.D UTE TO TAIK TO SOMEONE ON THE MENTAT HEALTH IEAM ABOUT:




  MEDICATIONS                                                        I


  E I want a refillof my prescribed medication(s)        tr I am N0Tgetting my prescribed medication(s)
 Name of Medication(s):




May 2O2O
                          'lvi-c;fr(A
             Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 15 of 27 PageID #:15
                     (f rr.rr<c.l. tof/ )
                     NON-EMERGENCY
                     HEATTH PHONE CATT REQUEST
                     CERMAT HEATTH SERVICES OF COOK COUNW




     TODAY'S D^TEI    b fT, I ) N IASTNAME: SPR.I U.T6:'                  FIRSTNAME: R./AXr



     ccootr: .1<r)qr oO rtr:e6             DtVtStoN[tER:   lI/pr /: I ot DATEoFBTRTH: q ll I ffi

     I WOUTD IIKE TO TAI.T TO SOMEONE FROM THE HEAITHCTRE TEAM ABOUT:

                                                                             ONLYURGE'UT& EMERGENT
                                                                            NEEDS AS DIAGNOSED BY TTIE
                                                                            DE''ITISI WTt BE TREATED AT THIS
                                                                            TIME.

                                                                            EASIC CTEA'{INGS AND ROUTINE
                                                                            FIII.'NGS ARE NOT PBOVIDED
                                                                            DURING T}IE COVID.19 PANDEMIC.



                                                                           E Mytooth is loose
                                                                           E My face is swollen
     rrcf, (^!ttK- <rf cri I t             I
                                                                           E lcan't open my mouth
   I WOULD TII(E TO TAIT TO SOMEONE ON THE MENTAT HEALTH IEAM ABOUT:




  MEDICATIONS                                                      I


  E I want a refillof my prescribed medication(s)      tr I am NoTgetting my prescribed medication(s)
 Name of Medication(s):




May 2020
                   , W(;TAcn
                     ( prii.tiil t"r/)
             Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 16 of 27 PageID #:16


                     NON-EMERGENCY
                     HEATTH PHONE CALI. REQUEST
                     CERMAT HEATTH SERVICES OF COOr COUNTY




     roDArsoars' 7-t-lO           IASTNAME:   Spet\Jc-1-                FIRSTNAME: R.yrr.J



    ccDocf:2r€\3c\A l*oG*                 DMSTON/flEn:   I i\rm I (r       DATEoFBIRTH: q i q         l*q

     I WOUTD UKE TO TATI( TO SOMEONE FROM TXT HEAI.THCARE TEAM ABOUT:

                                                                          ONIY URGENT & EMERGEtitT
                                                                          T\'EEDS AS DIAGNOSED BY THE
                                                                          DET{flST WU. BE TREATED ATTHIS
                                                                          TIME.

                                                                          BASIC CTEANINGS AND ROUTI,',E
                                                                          FILTINGS ARE NOT PROVIDED
                                                                         DURING I}IE COVID-l9 PANDEMIC.



                                                                         EI My tooth is loose

                                                                         El My face is swollen
                                                                        E I can't open my mouth

  I WOUTO UIG TO TAIX TO SOMEONE ON THE MENTAI HEATTH TEAM ABOUT:




  MEDICATIONS                                                    I



  E lwant a refillof my prescribed medication(s)     tr I am NOTgetting my prescribed medication(s)
 Name of Medication(s):




May 2020
         (p.^i#iff."py)
           Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 17 of 27 PageID #:17


                     NON-EMERGENCY
                     HEATTH PHONE CAtt REQUEST
                     CERMAT HEATTH SERVTCES OF COOI( COUNTY




     roDArsoore' 7- j8-f0 *rr*orr,                    SPRtil(r5               HRSTNAME:    Ry^rr

    ccooc*: Aol.onh         ltclc.S                DMsroN/flER: 1 nnrr.a   I G DATEoFBTRTH: I h ll I

    I WOULD LIIG TO TAII( TO SOMEONE FROM TI{E HEAITHCARE TEAM ABOUT:

                                                                               ONIYUBGEin& EMERGEiIII
                                                                               NEEDS AS DIAGTTIOSED BYT}IE
                                                                               DENNST WLT 8E TREATED AT THIS
                                                                               TIME.

                                                                               BASIC CTEANINGS AND ROUTINE
                                                                               FILLINGS ARE NOT PROVIDED
                                                                               DURIT{G II{E COVID-19 PANDEMIC.



                                                                              E My tooth is loose
                                                                              E My face is swollen
                                                                              E lcan't open my mouth

  I WOUTO UTE TO TALT TO SOMEONE ON THE MENTAT HEALTH TEAM ABOUT:




  MEDICATIONS

 {*r*a      refiltof my prescribed medication(s)
 Name of Medication(s):




Mav zozo
                  r .ifrea-..eV
                 Case:-t-tifftrt
                  (f   1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 18 of 27 PageID #:18
                                )           L<fT<r to Spri a1f<i tcl

6 - a,o-   ?.o ller^b(f b CF il^< apri n:f <-rA                                       Pr r lonqC
             r, [x.v<.itJ Aclr.rin itrru-tion

               fl\.1 {-\(\f-\q j: RyArxI 5prerrlJ61r lI- uJcr'S V iOl.tt<-l
              ,l*X* D 2pm b.1 Fclic< o?f rc(r:o \-$(r( ? E uxrs
              UJ
                               t -J j'.\friqrds" r< t
             , a.S6o,.JJtT<-cJ                     hon          5or;<rrt
             ,   , Hc.turKn 5 ? oFA'<.tr 6rh<rrrl i* t oFFiq<r Johnson, , ub                   qqcShcr.\   I




             .. Oor,*ritt<. qncl vcr,ri.ls rrncrrrqc-\ Fcti(< o-FFi(<r; ond                       U:
             ., f.1CJlCSh{tS        r.r.ncrbtt t(f
                                  =rt               r\(rprt.

                  :L C<C<i-'<c\ fru\tip\-(' P.-r-nc!.rt5.7 Ki<.f<-l. tO -1 \"*Iy
                   :I* .+:errt ra> :t tnat\ty: hospittr\ crt *l Cequ<S-- dnKJ
                   f<qei.l<\ :or^{ r"r<c\irot <rri't efif;6 crnc}. v(S c<.Ftrr<ql
                  ficr-- D(r;ris{r \^nrc crne} cr.\:cl cr^ e{< JccIOr- bJI-
                  ub5 S,Pp*.\ -tD qeoK- csl$r\-'.y- Jcr\ \ tln*- n<?dr .IoY
                  A    \-"lcl.: crrlVrqN fr*)h?roqr:l,^l ond E lr:os
                 rror.c\ \D sritt ttcSre:f s\ ip: t6 n ted.i tcr\ and :L
                   f<ce-i,./qd x)rv\.(- Rr..n qqcliqc^rion: b-rt n rn qY(
                  i: S"ri it Llurry c,rd *J J,*..1 iS yt i tt hrk ,n\
                  *) n<rv{S Fr?y,\ tt4< Fi t [i^y in *./ r<:crt{r \^]cr:
                  rn6cee.l o.r- o.nc\ E vrrvt / Feoc-\ i n r,ry ioot\a
                 Farnn s;^L€ J!^-( i i8, &CJaO 5-r* be<n c1<.ftinc.1
                 rcor<-\ Croor Pccr:\(
                                           =- \ncrvt :\a'.-t !rr*q.rtt/* fr,f-qr,'ny
                 to ttn.e hot< in .r.l., naO.:tla lu,,-nin1 lqrc-! sm( {                                       (



                 o.nd th( Co^Stcv"(r CtrntO/^\(S hcr5 l-e.€n Slo.t<-i nc, yt4.(
                  rS."\
                   ,)   A^qn/ crnc-9.. qps<t c,-n d                      sc^d
                                                                                                   )

               L!< heqn" vrx\tr^L ft( f\^( tY< cloqrcr ,a-lf
               th< nurs-< grocr.icnef
               th<          Prtxcr.tl'cne(- trqa tcl\d nobq)./
            ,, rJ\\r s<< tt^( qtq Cl.cc{bf ri r nqf       Y<Ct-
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 19 of 27 PageID #:19




                                                                              1l
     Qri$F*.'qD
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 20 of 27 PageID #:20




                          .crhsLJf- c\ecrcr\ *-arcs-L
                                                            -eY<ry




     ttr-e IIAalq\
            oL =-DoL,'
                                     ---\re \e,
                  S
                                   -J*tL+- DO-
                       slc-<ry --EL-4C63
                          Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 21 of 27 PageID #:21
                    r) COOK COUNTY                       SHERIFF'S OFFICE
                                (Oficino del Alguocil del Condado de Cook)

                            INMATEGRIEVANCE FORM
                            (Formuloriode Queja del Preso)



 E Grievance                                                                                             E Superintendent:
 E Non{ompliantGrievance                                                                                 E other:
 PRINT - INMATE LASI NAME (Apellido delPreso):                           PRINT - FIR5T NAME (Primer Nombre):                                     INMATE BOOKING NUMBER 1#deidentil@ ci6n del Preso)




 DIVISION/D,v,3idnli .r-.-..-                                            LIVING UNn (Unidodl;
                                                                                                           .i


                          Your grieved issue must meet all criter'n l'sted below in order to be assfned a control #, to be appealed and/or to exhawt ]emedies.

 disciplinaryhearingsofficer.


 Thegrieved issue must not be a repeat submission ofa grievance collected within the last 15 calendar days.
 Thegriewd issue must not be a repeat submission ofa grievance that previouslyreceilrd a responseand was appealed.
 Thegriered issue must not be a repeat submission ofa grievance that previouslyreceived a response and you chose notto appeal the response within 15 calendar dap
 The grieved issue must not contain offensiveor harassing lanBuage.
 Thegrievanceform must not contain morethan one issue.



  El asunto de la queja tiene que satisfacer todo el criErb          lifido mis abajo para obtener un nfmero de control, para ser apehdo y/o agotar todos los r€medios posibles.
 seguridad o custodia de protecci6n para los presos. o decisionesdel oficial de audiencias disciplinarias para los presos.



 (rRc/cRw).
 El asunto de la queia no puede ser una repetici6n   de una queia sometida e{r los rihimos 15 dias calendarios,
 El asunto de la queja no puede ser una repetici6n de um queia previamente recibida y la cual ya ha recibido      una respuesta yfue apelada.

 los l5dlascalendarios.
 El asunto de la queia no puede contener lenguaje ofensivo oamenazante
 ta solitud de h queia no puede contener mrs de un asunto.




 REQUIRED.                        RfQUIRED.                       REQUIRED -                                                      REQUIRED -
 OAIE OF INCIDENT                TIME OF INCIDENT                 SPECIFIC LOCATMil OF INODENT                                     NAME and/or IDENnFIER(Sl OF ACCT SED
 (Fecho del lncidente)           (Horad del lncidente)            (Lugor Especifco del lnctutente)                                (Nombre y/o lfuntilcoci6n del kusado)




                                                                                                                                        a_

                                                                                                                                                                        [- e \+
 !c. rt

NAMEOFSTAFFOR        INMATE(S} HAVING INFORMATON REGARDINGTHISCOMPLAINT:                                                     INMATE S16NATURE : ( Firmo del Preso ) :
 (Nombre del pe rsona I o pre sos que te nga n informacidn )




 CRWPTATOON COUNSETOR (Print):




(FCN-73XNOV 17)                      (wHrTE COPY - TNMATE SERVTCES) (YErrOW COPY - CRWPLATOON COUNSELOR)                                                                  (PINK COPY- INMATE)
                          Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 22 of 27 PageID #:22
  n / .t TCOOKCOUNWSHERIFF'SOFFICE
Ttfr?( A ) Of,r,,o det Atsuocit det condodo de cook)
                             INMATE GRIEVANCE FORM
      v                      (Formulorio de Queja del Preso)




 E Grievance                                                                                               D Superintendent:
 E Non-CompliantGrievance                                                                                  E other:
                                                                                                                                                  INMATE BOOK ING NUMBER (#derdentif@ci6n delPreso)




                                                                                                       l




                          Your grieved issue must meet all criteria listed below in order to be assigned a control #, to be appealed and/or to exhaust remedies.

 disciplinary hearingsofficer.



Thegrieved issue must not be a repeat submission ofa grieyance collected within the last 15 calendar days.
Thegrie\red issue must not be a repeat submission ofa grievance that previouslyreceiwd a response and was appealed.
Thegrieved issue must not be a repeat submission ofa grievance that previously receiwd a response and you chose notto appeal the response within 15 calendar days
ThegrievEd issue must not contain offensiveor harassing language,
Thegrievance form must not contain more than one issue,




 El asunto de la queja tiene que satisfacer todo el criterio listado mds abair para obtener un n[mero de contol, para ser apehdo y/o agotar todos los remed'ros posibles.


 seguridad o custodia de protecci6n para los presos, o decisiones del oficial de audiencias disciplinarias para los presos.



 (rRc/cRw).
 El asunto de la queja no puede ser una repetici6n de una queja sometida    en los (himos 15 dias calendarios.
 El asunto de la queia no puede ser una repetici6n de una queja previamente recibida y la cual ya ha recibido    una respuesta yfue apelada,

los 15 dias€alendarios.
 El asunto de la queia no puede contener   lenguaje ofensivo oamenazante
 La solitud de la queja no puede contener m6s de un asunto.




REQUIRED -                       REQUIRED.                        REqUIRED -                                                       REQUIREO.
DAIE OF INCIDENT                 TIME OF INCIDENT                SPECIFIC TOCATION OF INODENT                                       NAME and/or IDENIFIER(S) OF ACCUSED
(Fecho del lncidente)            (Horad del lncidente)            (Lugor EspeciJico del lncidente)                                 (Nombre y/o ldentificrci6n del Acusob)




 NAMEOF STAFFOR INMATE(SI HAVING INFORMATION REGARDINGTHISCOMPLAINT:                                                          INMATE SIGNATUREi ( F i rmd del Preso ) :
 (Nombre del personolo presos quetengon informaci6n:)




 CRW/PIATOON COUNSETOR (Printl:



SUPERINTENDENT/DIRECTOR/DESIGNEE            (PTint}:




(FCN-73XNOV 17)                     (wHrTE COPY - TNMATE SERVTCES) (YELLOW COPY - CRW/PLATOON COUNSELOR)                                                                  (P|NK COPY - TNMATE)
                            Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 23 of 27 PageID #:23
                              COOK COUNTY SHERIFF'S OFFICE
                                (Oficina del Alguocil del Condado de Cook)

                      9       INMATEGR!EVANCE FORM
                              (Formulorio de Quejo del Preso)



 E Grievance                                                                                             E Superintendent:
 E Non{ompliantGrievance                                                                                 E Other:
 PRINT - INMATE IASI NAME (Apeilldo delPreso):                           PRINT - FIRST NAME (Primer Nombre):                                     INMATE BOOKING NUMBER /#deldentifi a ci6n de I Pre so)




                                                                                                                                                 DATE(Fe&o);




                            Your grieved issue must meet all criteria listed below in order to be assigned a control #, to be appealed and/or to exhaust remedies.

 disciplinaryhearingsofficer.


 Thegrieved issue must notbea repeatsubmission ofa grievance collected withinthe last 15calendardays.
 Thegrieved issue must not be a repeat submission ofa grievancethat previouslyreceiv€d a responseand was appealed.
 Thegrieved issue must not be a repeat submission ofa grievance that previouslyreceived a response and you chose notto appeal the response within 15 calendar days
 Thegrie\red issue must not contain offensiveor harassinglanguage.
 Thegrievanceform must notcontain more than one issue.



  El asunto de la queja tiene que satisfacer todo el criterio listado m{s abajo para obtener un n(mero de control, para ser apehdo y/o agotar todos los remedios posibles.


 seguridad o custodh de protecci6n pam los presos, o decisiones del oficial de audiencias disciplinarias para los presos.



 (rRc/cRWl.
 El asunto de la queja no puede ser una repetici6n   de una quela sometida en los rlftimos 15 dias calendarios,
 El asunto de la queja no puede ser una repetici6n de una queia previamente recibida y la cual ya ha recibido     una respuesta y fue apelada.

 los 15 dias calendarios.
 El asunto de h queia no puede contener   lenguaje ofensivo o amenazante
 La solitud de la queia no puede contener mes de un asunto.




 REQUIRED.                       REQUIRED.                        REQUIRED.                                                      REQUIRED -
 DATE OF INCIDENT                TIME OF INCIDENT                 SPECIFIC LrOCATlOlt OF INODENT                                  NAME and/or IDENT|FER(S) OF ACct SED
 (Fecho del lncidente)           (Horod del lncidente)            (Lugor Especifeo del lncidente)                                (Nombre y/o ldentifiwi6n del kusodo)




 NAMEOF SIAFFOR INMATE(SI HAVF{G INFORMATION REGARDINGTHISCOMPTAINT:                                                        INMATE SIGNATURE: ( F irma de I Preso ) :
 (Nombre del personolo presos que tengon informochn:)




(FCN-73XNOV 17)                     (wHrTE coPY - TNMATE SERVTCES) (yErrOW COpy - CRW/PLATOON COUNSELOR)                                                                 (PINK COPY - TNMATE)
                           Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 24 of 27 PageID #:24
                             COOK COUNTY SHER!FF,S OFFTCE
                 (g          (bficino del Alguocil del Condado de Cnk)

                             INMATE GRIEVANCE FORM
                             (Formulorio de Quejo del Preso)




 E Grievance                                                                                                     E Superintendent:
 E Non-CompliantGrievance                                                                                        E Other:
 PRINT - INMATE LASI NAME (Apellido delPreso);                             PRINT - FIRST NAME (Primer Nombre):                                          INMATE BOOKING NUMBER /#derdentifi @ ci6n del P reso)




                          Your grieved issue must meet all criteria lbted below in order to be assigned a control #, to be appealed and/or to\haust remedies.

 disciplinary hearingsofficer.



 Thegrieved issue must not be a repeat submission ofa Brie\rance colle€ted within the last 15 calendar dap.
 Thegrierred issue must not be a repeat submission ofa grievance that previously received a response and wasappealed.
 Thegrieved issue must not be a repeat submission ofa trievance that previouslyreceived a response and you chose notto appeal the.esponse within 15 calendar days
 Thegrieved issue must not contain offensiveorharassing language.
 Thegrievance form must not contain more than one issue.




  El asunto de la queja tiene que satisfacer todo el criterb listado m6s abajo para obtener un n(mero de control, para ser apelado y/o agotar todos los r€medios posibles.


 seguridad o custodia de protecci6n para los presc, o decisionesdel oficial de audiencias disciplinarias para los presos.



 (rRc/cRw).
 El asunto de la queia no puede ser una repetici6n   de una queia sometida en los Ultimos 15 dias calendarios,
 El asunto de la queja no puede ser una repetici6n de una queia previamente recibida y la cual ya ha recibido        una respuesta y fue apelada.

 los l5diascalendarios.
 El asunto de la queja no puede contener  lenguaje ofensivo oamenazante
 [a solitud de la queia no puede contener m5s de un asunto.




 REQUIRED -                      RIQUIRED -                       REQUIRED -                                                         REQUIRED.
 DAIE OF INCIDENT                TIME OF INCIDENT                 SPECIFIC LOCATOil OF INODENT                                       NAME andlor IDENnFIEqS) OF ACCT SED
 (Fecho &llncidente)             (Horad del lncidente)            ( Lu g o r Es pe c ifrco & I I n cid e nte )                       (Nombre y/o l&ntifcrci6n del kusodo)




                                                                                                                               INMATE SIG NATUR E | ( F i r m o d e I P rgs_o ) :
 (Nombre del personolo presosque tengan informac'nn:)




(FCN-73XNOV 17)                     (wHrTE COPY - TNMATE SERVTCES) (yErrOW COpy - CRWP|-ATOON COUNSELOR)                                                                            (P!NK COPY - TNMATE)
                                   Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 25 of 27 PageID #:25



                                     (Formulario de Quejo del Preso)



     iKGrievance                                                                                               E Superintendent:
     E Non{ompliantGrievance                                                                                   E other:
-    PRINT - INMATE LASI NAME (Apellido del Preso):                          PRINT - FRST NAME (Primer Nombre):
              lr
     DIVISON /Dlv&ir5nl:
         'l
         i         i ..,.''
                   i..
                                      ,                                                      '--- t'.r-u -ri'

                                   Your grieved bsue must meet all criter'n lbted below in order to be assfned a control #, to be appealed and/or to exhaust remedies.

     disciplinary hearings officer.



     Thetrieved issue must not be a repeat submission ofa grieyance collected within the last 15 calendar dap.
     Thegrieved issue must not bea repeat submission ofa grievancethat previouslyreceived a responseand was appealed,
     Thegriev€d issue must not be a repeat submission ofa $ievance that previouslyreceiued a responseand you chose notto appeal the responsewithin 15 calendar dala
     The grietlEd lssue must not contain off ensive or harassing language.
     Thegrievance form must notcontain morethan one issue.




      El asunto de la queja tiene que satisfacer todo el criErio listado mds abajo para obtener un n0mero de @ntrol, para ser apehdo y/o agotar todos los remed'os posibles.


     seguridad o custodh de protecci6n para los presos, odecisiones del oficial deaudienciasdisciplinarias para los presos,



     (rRc/cRwl.
     El asunto de la queja no puede ser una repetici6n de una queja sometida      en los rlhimos 15 dias calendarios,
     El asunto de la queja no puede ser una repetici6n de una queja previamente recibida y la cual ya ha recibido           una respuesta y fue apelada.

     los 15 dias calendarios.
     El asunto de h queja no puede centener        hnguaje olensivo oamenazante
     La solitud de la qu{a no tuade coaten r rtiis de un asunto.




     REqUIRED.                            REQUIRED.                   REQUIRED.                                                            REQUIRED -
     DATE OF INCIDENT                     TIME OF INODENT             SPECIFIC LOCANON OF INODENT                                          NAME and/or IDENnFIER(S) OF ACCUSED
     (Fecho del lncidente)                (Horod del lncidente)       (Lugor Especifico del lncidente)                                     (Nomfue y/o l&ntifiaci6n del kusodo)




         -;,-            ...i.\.            ..r'    ',..i'!rt*\         r,.-           .lt.-;.r.-.{           -,1,,-(.i'-                           \.riri         r-l'     ,...     ':




                                                                                                                        1


                                                                                                              U.i.\l!            -:           ii   .j-r         ri,-.1.r,   \-/:d.        i'..'-i   .t',

                                                                                            i--* t.,.i-           L 'i' ,     ,'i        '-r-1 , i i




     NAMEOFSTAFFOR INMATE(SIHAVING INFORMATION REGARDINGTHISCOMPTAINT:
     (Nombre del personalo presos que tenqdn informoci6n:)




    (FCN-73XNOV 17)                          (wHlTE COpy- TNMATE SERVICES) (yErtOW COpy-CRWPLATOON COUNSELOR)                                                                 (PINK COPY- TNMATE)
                            Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 26 of 27 PageID #:26
    l\                       cooKcouNwsHERrFF'soFFrc
                             COOK COUNTY SHERIFF'S OFFICE



ry(.) iiffi;;;!!:it;'*n         (Formulorio de Quejo del Preso)


  Ll tmergencyGflevance                                                                                      IJ LermaKHeatIn )ervtces
 El Grievance                                                                                                tr Superintendent:
  E Non-CompliantGrievance                                                                                   tr Other:
                                                                            PRINT - FIRST NAME (Primer Nombre);                                   INMATE BOOKING NUMBER /#deldentila ci6n del Preso)


                                                                                                :   )r /\,   ir- '                                                          :

 DIVISION (Divr'sidnl;                                                      LIVING UN]I /Unidod);                                                 DATE(Fe6o):




                                                                itlarratNlr{srttlrrt       ttNl-}ElNlrNtt\'/ltvTat ilrurilllrlv,llztlll\tl
                           Your grieved issue must meet all criteria l'sted below in order to be assigned a control 4 to be appeahd and/or to exhaust remedies.

 disciplinary hearings officer.



 Thegrieved issue must not be a repeat submission ofa grie\rance collected within the last 15 calendar days,
 Thegriered issue must not be a repeatsubmission ofa grievancethat previouslyreceiyed a responseand wasappealed.
 Thegrieved issue must not be a repeat submission ofa grievance that p.eviouslyreceived a responseand you chose notto appealtheresponse within 15 calendar dap
 The grieved issue must not contain offensive or harassing language.
 Thegrievanceform must notcontain morethan one issue.



  El asunto de la queja tiene que satisfacer todo el criterio           lifido mds abajo para obtener un nimero de contol, para ser apelado y/o agotar todos los r€medbs posibhs.
 seguridad o custodia de protecci6n para los presos, o decisionesdel oficial de audiencias disciplinarias para los presos.



 (rRc/cRwl.
 El asunto de h queja no puede ser una repetici6n de una queja sometida     efl los rihimos 15 dlas calendarios,
 El asunto de la queja no puede ser una repetici6n     de una queja previamente reciblda y la cual ya ha recibido una respuesta y fue apelada.

 los 15 diascalendarios.
 El asunto de la queia no puede contene lenguaie ofensivooamenazante
 ta solitud de la irqa na puede contener m6s de un asunto,

 hospitales perif{ricos, etc.

 REQUIRED.                        REQUIRED.                           REQUIRED.                                                   REQUIRED -
 DATE OF INCIDENT                 TIME OF INODENT                     SPECIFIC TOCAIIOilI OF INODENT                              NAME andlor IDENIFER{S) OF ACCUSED
 (Fecho del lncidente)            (Horod del lncidente)               (Lugar kpecifico del lncidente)                             (Nornfue y/o ldentifiw'on del Acusodo)



          'l
                                                                                                !
                                                                                                    1
                                                                ra.
                                                            I




                                                                               1




 NAMEOF STAFFOR INMATE{SI HAVING INFORMATION REGARDINGTHISCOMPI-AINT:                                                        INMATE SrcNATURE: ( F i rmo del Preso ) :
 (Nombre del personolo presosque tengon inJormoci6nij




 CRWPLATOON COUNSEtoR (Print):                                                     SGNATURE:                                                               DATECRWPI.ATOONCOUNSETOR       RECIEVED:




SUPERINTENDENT/DRECTOR/DESIGNEE             (P]int}:                               SIGNATURE:                                                              DATEREVIEWED:




(FCN-73XNOV 17)                      (wHlTE COpy- TNMATE SERVICES) (yErLOW COpy-CRWPLATOON COUNSELOR)                                                                    (PrNK COPY- TNMATE)
                                                                                                                                                 r
                                                                                   ,,0
                                                                                                                                      Er9H                                   I
                                                                                   A
                                                                                            cE
                                                                                            otr
                                                                                               o
                                                                                               O)
                                                                                               .E                                  b+ -Lo
                                                                                                                                   ,CX
                                                                                                                                                                        J
                                                                                                                                                                        .t9
                                                                                            26
                                                                                   @         ul':
                                                                                             cO>.                                   n-f o
                                                                                                                                     )-
                                                                                                                                   au                                   ,-9
Case: 1:20-cv-04626 Document #: 1 Filed: 08/06/20 Page 27 of 27 PageID #:27




                                                                                             >E
                                                                                             ko
                                                                                            =i)
                                                                                            oo)
                                                                                   @       ,^ Et1'
                                                                                                                                                                L
                                                                                                                                    \n {) o
                                                                                           NY=
                                                                                   A.      84
                                                                                           e 96
                                                                                                    o;
                                                                                           aEH
                                                                                           s E E'U                                    D/C o
                                                                                   @       IEEr
                                                                                                                                    FT C
                                                                                   ^4,
                                                                                                                                     hv i        \D
                                                                                                                                                                        =
                                                                              0o                                                         U,                              ;
                                                                              -0
                                                                              C
                                                                              r                                                         lyi
                                                                                                                                        'c (r-
                                                                                                                                                                        bv
                                                                              E
                                                                              a
                                                                                                                                                                        s,
                                                                              8=
                                                                                                                                           -(
                                                                                                                                                                        U
                                                                              .6
                                                                                                                                                                                 E\
                                                                                 A / r.n
                                                                              q#$                             z-0202190/80
                                                                              {af r                      [ilffi illilllllilllilillillilllllillllillilillillllllllilll
                                                                                                                                                                                     Jrf
                                                                              iVffi%
                                                                              2nao                                                                                                   dJ)
                                                                                                                                                                                      tL
                                                                              aU o,,
                                                                              rtjd j                                                                                             ,-l-\
